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UNITED sTATES DISTRICT CoURT i'§i ‘;,»€ gm
. soUTHERN DISTRICT oF INDIANA f(!;,_r,?
INDIANAPOLIS DlvlsloN ~"`i*:;;§;t gp
UNITED sTATEs oF AMERICA, )
)
Plaintiff, )
)
v. ) 1118-cr-
)
JoSEPH FREEMAN, )
v).#¢ ., g r.. §§ fig ’"T‘ /€ "` -
Defendant. §»)° § 8 ' w 23 wax § j \lb DML

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The Grand Jury charges that:

General Allegations

At times material to all of these charges:
l. JOSEPH FREEMAN, the defendant herein, Was a resident of the Southern

District of lndiana.

2. The name “Minor Victim l” is the pseudonym of a girl Who Was ll and 12 years
old.

3. _ The name “Minor Victim 2” is the pseudonym of a girl Who Was 14 years old.

4. On flve separate occasions, the defendant sexually exploited Minor Victim l and

2 by producing, and attempting to produce, visual depictions of them engaging in sexually
explicit conduct.

5. The defendant knew, and had reason to know that the visual depictions-of Minor
Victim l and 2 Would be transported,or transmitted using any means or facility of interstate or

foreign commerce or in or affecting interstate or foreign commerce or mailed.

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6. The visual depictions of Minor Victims l and 2 were produced or transmitted
using materials that have been mailed, shipped, or transported in or affecting interstate or foreign
commerce by any means, including by computer, because the defendant used cameras and other
devices manufactured outside lndiana.

7. The visual depictions of Minor Victims l and 2 were transported or transmitted
using any means or facility of interstate or foreign commerce or in or affecting interstate or
foreign commerce or mailed because the defendant used cellular telephones, an Intemet based

email account, and an Internet file storage account to move and store the depictions.

8. The Intemet and the cellular phone network are facilities of interstate or foreign
commerce.
Definitions
9. The term “minor” means a person under the age of eighteen (l 8) years as defined

in 18 U.S.C. § 2256.

10. The term “sexually explicit conduct” as defined in 18 U.S.C. § 2256, means actual
or simulated l) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-
anal, whether between persons of the same sex or opposite sex; 2)'masturbation; or 3) lascivious
exhibition of the genitals or pubic area of any person.

ll. The term “visual depiction” is defined as to include undeveloped film and
videotape, data stored on computer disk or by other electronic means which is capable of
conversion into a visual image, and data which is capable of conversion into a visual image that
has been transmitted by any means, whether or not stored in a permanent format. 18 U.S.C. §

2256(5).

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Counts 1-5
Sexual Exploitation of a Child and
Attempted Sexual Exploitation of a Child,
U.S.C. §§ 2251(a) and (e)

l2. Paragraphs l through ll of this Indictment are -re-alleged and incorporated by
reference in Counts 1-5.

13. On or about the dates listed below in each separate Count, within the Southem
District of Indiana and elsewhere, the defendant, JOSEPH FREEMAN, did use, employ, entice,
persuade, induce, and coerce a minor to engage in sexually explicit conduct for the purpose of
producing any visual depiction of such conduct, and did attempt to do so, knowing or having
reason to know that such visual depiction would be transported or transmitted using any means
or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce or
mailed, or that visual depiction was produced or transmitted using materials that have been
mailed, shipped, or transported in or affecting interstate or foreign commerce by any means,
including by computer, or that such visual depiction was actually been transported or transmitted
using any means or facility of interstate or foreign commerce or in or affecting interstate or

foreign commerce or mailed.

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Count

 

 

 

 

 

 

 

 

 

Date Minor Filename
Victim & age
1 September 3, 2015 Minor Victim 1, 2015-09-03_20-33-
- age ll 06_647.mp4
2 September 15, 2015 Minor Victim 1, 2015-09-15_20-22-
age 11 25_327.mp4
3 December 29, 2015 Minor Victim l, 2015-12-29_12-08-
age 12 29_809.mp4:
4 December 31, 2015 Minor Victim 1, 2015-12-31_12-40-
age 12 42_147.mp4
5 February 8, 2018 Minor Victim 2, 20180208_144155.mp4
age 14

 

Each Count of which is a separate violation of 18 U.S.C. §§ 2251(a) and (e).

 

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1.

MF_EME

Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby

notifies the defendant that it will seek forfeiture of property, criminally and/ or civilly, pursuant to

Title 18, United States Code, Sections 2253 and 2254 as part of any sentence imposed.

2.

Pursuant to Title 18, United States Code, Section 2253, if convicted of any of the

offenses set forth in Counts 1-5 of this Indictment, the defendant shall forfeit to the United

States:

3.

a. any visual depictions described in Title 18, United States Code, Sections
2251, 2251A, or 2252, 2252A, 2252B, or 2260, and any book, magazine,
periodical, fil`m, videotape, or other matter which contains any such visual
depictions, which were produced, transported, mailed, shipped, or received in
violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, used or intended to be used to commit or to
promote the commission of such offenses of which the defendant is convicted, or
any property traceable to such property, such as all computers, storage media,
cameras and electronic equipment taken from his person or residence by law
enforcement officers during the investigation of these offenses. lt also includes
any property,- real or personal, constituting or traceable to gross profits of other
proceeds derived from said offenses.

The property subject to forfeiture includes, but is not necessarily limited to:

a. Black Nokia phone
b. White Samsung Galaxy
c. Samsung with Gray and Pink Case

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d. Nikon Camera
e. Samsung Digital camera
f. Dell laptop
g. 2 SIM_cards
h. 2 Motorola cell phones
4. The United States shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), and as incorporated by Title 18, United States

Code, Section 2253(b), if any of the property described above in paragraph 3, as a result of any

act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty.

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5. In addition, the United States may seek civil forfeiture of the property described
above in paragraph 3 pursuant to Title 18, United States Code, Section 2254.

A TRUE BILL:

JOSH J. MINKLER
United States Attorney

lm/

Iféristina M§rie Korobov
Assistant United State Attorney

